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                            IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF OREGON



ADRIANA HAYS, et al.,                               )
                                                    )             Civil No. 03: 16-cv-01942-PK
                                Plaintiff(s),       )
                                                    )             ORDER APPROVING
                v.                                  )             SETTLEMENT AND
                                                    )             ORDER OF DISMISSAL
AXIOM ENTITIES LLC, et al.,                         )
                                                    )
                                Defendant(s).       )


        IT IS ORDERED that the parties' Joint Motion for Court Approval of Settlement Agreement and

to Dismiss Lawsuit with Prejudice [14] is GRANTED. The parties' settlement is APPROVED as a fair

and reasonable resolution of a bona fide dispute under the FLSA. This action is DISMISSED with

prejudice and with the Court retaining jurisdiction in order to enforce the terms of the Settlement

Agreement. Pending motions, if any, are DENIED AS MOOT .


        Dated this   /8-l~ day of May, 2017.                )\
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                                                         by \      (U(;(\ c               .
                                                                \: Paul Papak
                                                                   United States Magistrate Judge
